Case 2:17-cv-04250-MAK Document 21 Filed 11/28/17 Page 1 of 22

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 

ROSENBAUM & ASSOCIATES, P.C.,
DAVID A. ROSENBAUM and JEFFREY
M. ROSENBAUM Civil Action No. 2:17-cv-04250-MAK
Plaintiffs, |
v.

MORGAN & MORGAN a/k/a MORGAN &
MORGAN, PA, JOHN MORGAN, MIKE
MORGAN, DANIEL MORGAN, MATT
MORGAN, SCOTT WEINSTEIN and
ULTIMA MORGAN
Defendants. :

 

BRIEF IN OPPOSITION TO PLAINTIFFS’ MOTION FOR PRELIMINARY
INJUNCTION

Defendants, by and through counsel, file this brief in opposition to Plaintiffs’ Motion for
Preliminary Injunction and Memorandum of Law in Support (the “Motion” and “Memo.”) (ECF
No. 14).

I. INTRODUCTION

Plaintiffs ask this Court take the extraordinary measure of enjoining Defendants entirely
from advertising their legal services in the Philadelphia market. Plaintiffs argue this equitable
remedy should be granted because: (1) Defendants’ advertisements are “literally false,” and (2)
Defendants’ allegedly false advertising has caused Plaintiffs to lose clients. Plaintiffs’ Motion
should be dismissed without a hearing as Plaintiffs fail to demonstrate irreparable harm and fail
to establish a likelihood of success on the merits.

The injunction sought would prevent Defendants from running all of their current
advertisements. Injunctions prohibiting speech are rare. Yet, in making a sweeping request for

this exceptional relief, Plaintiffs fail to delineate between Defendants’ current television
Case 2:17-cv-04250-MAK Document 21 Filed 11/28/17 Page 2 of 22

advertisements and former television advertisements. In fact, in support of their request for
prospective injunctive relief, Plaintiffs attached three advertisements - only one of which is
currently running.' Curiously, none of these advertisements were provided or cited by Plaintiffs
in their underlying Complaint. More importantly, Plaintiffs have not shown that any of the
current advertisements are false or misleading.

Additionally, Plaintiffs cannot establish that they are more likely than not to suffer
irreparable harm in the absence of preliminary relief. Plaintiffs allege that they have and will
continue to suffer irreparable harm due to unidentified lost personal injury clients. However, the
law on this matter is unambiguous: if plaintiffs are successful on the merits of their underlying
complaint, their losses constitute purely economic harm that can be adequately compensated
with a damages award. The Third Circuit has never upheld an injunction where the alleged
injury, as here, constitutes a loss of money. For this reason alone, Plaintiffs’ Motion should be
summarily denied.

Il. PRELIMINARY INJUNCTION STANDARD

Preliminary injunctive relief is “an extraordinary remedy” and “should be granted only in
limited circumstances.” American Tel. & Tel. Co. v. Winback & Conserve Program, Inc., 42
F.3d 1421, 1427 (3d Cir.1994) (quotation omitted). The Supreme Court has set a high bar for
injunctions prohibiting speech. In all but the most exceptional circumstances, an injunction
restricting speech pending final resolution of constitutional concerns is impermissible. See Near
v. Minnesota, 283 U.S. 697, 716, 51 S.Ct. 625, 75 L.Ed. 1357 (1931); Procter & Gamble Co. v.
Bankers Trust Co., 78 F.3d 219, 226-27 (6th Cir.1996). Any prior restraint bears a “heavy

presumption against its constitutional validity.” New York Times Co. v. United States, 403 US.

 

 

' As agreed by Defendants’ counsel and memorialized in this Court’s November 14, 2017 Order, Defendants have
agreed to produce all current advertisements in the Philadelphia area market.

2
Case 2:17-cv-04250-MAK Document 21 Filed 11/28/17 Page 3 of 22

713, 714, 91 S.Ct. 2140, 29 L.Ed.2d 822 (1971). Thus, the Supreme Court has “imposed this
‘most extraordinary remed[y]’ only where the evil that would result from the reportage is both

great and certain and cannot be mitigated by less intrusive measures.” CBS, Inc. v. Davis, 510

 

U.S. 1315, 114 S.Ct. 912, 127 L.Ed.2d 358, (1994) (Blackmun, J., in chambers) (quoting

Nebraska Press Ass'n v. Stuart, 427 U.S. 539, 562, 96 S.Ct. 2791, 49 L.Ed.2d 683 (1975)).

 

A party seeking a preliminary injunction must show: (1) a likelihood of success on the
merits; (2) that it will suffer irreparable harm if the injunction is denied; (3) that granting
preliminary relief will not result in even greater harm to the nonmoving party; and (4) that the
public interest favors such relief. Allegheny Energy, Inc. v. DQE, Inc., 171 F.3d 153, 158 (3d
Cir.1999).

The Third Circuit Court of Appeals recently clarified that “a movant for preliminary
equitable relief must meet the threshold for the first two ‘most critical’ factors: it must
demonstrate that it can win on the merits (which requires a showing significantly better than
negligible but not necessarily more likely than not) and that it is more likely than not to suffer

irreparable harm in the absence of preliminary relief.” Reilly v. City of Harrisburg, 858 F.3d 173,

 

179 (3d Cir. 2017), as amended (June 26, 2017). It is only if these “gateway factors” are met,
that a court considers the remaining two factors and “determines in its sound discretion if all four
factors, taken together, balance in favor of granting the requested preliminary relief.” Id.
Til. ARGUMENT

Plaintiffs cannot establish either of the “gateway factors”: (1) that it will suffer

irreparable harm if the injunction is denied,” or (2) a likelihood of success on the merits.

 

* Because Plaintiffs are utterly unable to establish irreparable harm under Third Circuit precedent, and that failure
alone is fatal to their motion, that factor will be addressed first.
Case 2:17-cv-04250-MAK Document 21 Filed 11/28/17 Page 4 of 22

A. Plaintiffs Cannot Show Irreparable Harm
Plaintiffs’ claim that they have suffered, and can prove, irreparable harm rests entirely

upon the holding of the District Court in W.L. Gore & Assoc., Inc. v. Totes, Inc., 788 F. Supp.

 

800, 810 (D. Del. 1992). In Gore, the District Court stated that irreparable harm was “presumed”
where there was a “reasonable belief” that the plaintiff was likely to be damaged as a result of
allegedly false advertising. See Memo. at pp.14-16 (citing). Gore, however, is not the current
standard in the Third Circuit.

According to the Third Circuit: “A party seeking a preliminary injunction in a Lanham
Act case is not entitled to a presumption of irreparable harm but rather is required to demonstrate
that she is likely to suffer irreparable harm if an injunction is not granted.” Ferring Pharm., Inc.

v. Watson Pharm., Inc., 765 F.3d 205, 217 (3d Cir. 2014), holding modified by Reilly v. City of

 

Harrisburg, 858 F.3d 173 (3d Cir. 2017)).

In order to demonstrate irreparable harm, “the plaintiff must demonstrate potential harm
which cannot be redressed by a legal or an equitable remedy following a trial. The preliminary
injunction must be the only way of protecting the plaintiff from harm.” Checker Cab of
Philadelphia Inc. v. Uber Techs., Inc., 643 F. App'x 229, 232 (3d Cir. 2016) (citing Campbell
Soup Co. v. ConAgra, 977 F.2d 86, 91 (3d Cir.1992) (internal quotation marks and citations
omitted). The “‘requisite feared injury or harm must be irreparable—not merely serious or
substantial,’ and it ‘must be of a peculiar nature, so that compensation in money cannot atone for

it. ” Id. at 91-92 (quoting ECRI v. McGraw-Hill, Inc., 809 F.2d 223, 226 (3d Cir.1987)).

 

Plaintiff must “demonstrate[ | a significant risk that he or she will experience harm that cannot
adequately be compensated after the fact by monetary damages.” Id. (citing Adams v. Freedom

Forge Corp., 204 F.3d 475, 484-85 (3d Cir.2000). The Third Circuit Court of Appeals “has ‘long
Case 2:17-cv-04250-MAK Document 21 Filed 11/28/17 Page 5 of 22

held that an injury measured in solely monetary terms cannot constitute irreparable harm.’ ” Id.

(citing Liberty Lincoln—Mercury, Inc. v. Ford Motor Co., 562 F.3d 553, 557 (3d Cir.2009)).

 

Here, Plaintiffs argue they have and wil! continue to suffer irreparable harm because the
accused advertisements “have caused, and will continue to cause, clients to retain Defendants as
counsel.” Plaintiffs further claim that, despite their own advertising efforts, they have seen a
decline in the number of new clients in the first half of 2017. See Memo. at p. 15. Thus,
Plaintiffs’ entire basis for claiming irreparable harm is their purportedly lost clients.

The loss of customers “is a purely economic harm that can be adequately compensated
with a monetary award following adjudication on the merits.” Checker Cab, 643 F. App’x at 232

(citing In re Arthur Treacher's Franchisee Litig., 689 F.2d 1137, 1145 (3d Cir.1982) (“[W]e have

 

never upheld an injunction where the claimed injury constituted a loss of money, a loss capable
of recoupment in a proper action at law.”)). “The Third Circuit has repeatedly held that loss of
sales and loss of business reputation .. . are all harms that can be remedied legally.” Manganaro
v. InteropTec Corp., 874 F. Supp. 660, 662 (E.D. Pa. 1995).

In Instant Air Freight Co. v. C.F. Air Freight, Inc., 882 F.2d 797 (3d Cir. 1989), the
Third Circuit held that even where the alleged breach of contract could lead to massive layoffs at
the plaintiff's company, injunctive relief was inappropriate given that such damages remained
quantifiable. Id. at 798-99, 801 (“The preliminary injunction must be the only way of protecting
the plaintiff from harm . . . The crucial issue in determining whether the district court abused its
discretion in finding irreparable injury in this case is the question of whether money damages
provide an adequate remedy at law to [the plaintiff].”). The Third Circuit found that even
substantial economic injuries were insufficient to support injunctive relief given that “the

monetary damages which [the plaintiff] alleges it is suffering are capable of ascertainment and
Case 2:17-cv-04250-MAK Document 21 Filed 11/28/17 Page 6 of 22

award at final judgment if [the plaintiff] prevails. These money damages will fully compensate
[the plaintiff] for its losses.” Id. at 801-02; see_also Frank's GMC Truck Ctr., Inc. v. Gen.
Motors Corp., 847 F.2d 100, 102 (3d Cir. 1988) (“The availability of adequate monetary

damages belies a claim of irreparable injury.”); c.f. Penglai Jinfu Stainless Steel Products Co.,

 

Ltd. v. Geemacher, LLC, CV 16-0552, 2016 WL 660920, at *3 (E.D. Pa. Feb. 18, 2016) (even

 

where defendant was claimed to be insolvent, no irreparable harm was found).

Plaintiffs admit that, while “difficult to quantify,” they will “clearly be able to establish
an economic loss.” See Memo. at p. 15. Therefore, Plaintiffs have not even alleged that absent
injunctive relief, they will suffer harm for which there is no adequate remedy at law. In fact,
Plaintiff's Complaint, which requests money damages, expressly contradicts such an argument.
See Complaint at pp. 13 (demanding “That Defendants account for and pay to Plaintiffs any and
all gross revenues derived by the Defendants from the publication of the advertising in the
Philadelphia market;” and that “The Court award monetary damages sustained by Plaintiff to
include any and all economic loss caused by Defendants’ violation of the Lanham Act and
pursuant to Pennsylvania common law); see also Cerciello v. Sebelius, CV 13-3249, 2016 WL
792505, at *6 (E.D. Pa. Mar. 1, 2016) (“Dr. Cerciello's threats of money damages demonstrate
that an adequate remedy at law exists, and belie any assertion that equitable relief is
necessary.”). The allegations and prayer for relief in the Complaint, as well as those in the
Motion currently before this Court, make clear that any harm that Plaintiffs claim to suffer could
be fully redressed by an award of damages. Plaintiffs have made no showing, let alone a clear
showing, of irreparable harm.

Finally, even accepting Plaintiffs’ allegations regarding Defendants’ prior

advertisements, Plaintiffs have not cited to a single advertisement that is currently running that
Case 2:17-cv-04250-MAK Document 21 Filed 11/28/17 Page 7 of 22

contains allegedly “false or misleading” language. “Whether a defendant’s conduct has ceased is
certainly a relevant consideration” in determining whether a plaintiff has demonstrated
irreparable harm. Ferring, 765 F.3d at 219, holding modified by Reilly, 858 F.3d 173. For this
reason too, Plaintiffs are unable to establish irreparable harm. Therefore, Plaintiffs’ Motion for
Preliminary Injunction should be denied.’

B. Plaintiffs Cannot Show Likelihood of Success on the Merits*

To state a claim for false advertising under Section 43(a) of the Lanham Act, a plaintiff
must allege that: “1) that the defendant has made false or misleading statements as to his own
product [or another's]; 2) that there is actual deception or at least a tendency to deceive a
substantial portion of the intended audience; 3) that the deception is material in that it is likely to
influence purchasing decisions; 4) that the advertised goods traveled in interstate commerce; and
5) that there is a likelihood of injury to the plaintiff in terms of declining sales, loss of good will,

etc.” Pernod Ricard USA, LLC v. Bacardi U.S.A., Inc., 653 F.3d 241, 248 (3d Cir. 2011).

 

Liability under Section 43(a) of the Lanham Act attaches only if the commercial message
or statement is either: (1) literally false or (2) literally true or ambiguous, but has the tendency to

deceive consumers. Castrol Inc. v. Pennzoil Co., 987 F.2d 939, 943 (3d Cir.1993) (“a plaintiff

 

 

> Plaintiffs allege that “[a]t some point towards the middle of 2016 Defendants began an extensive advertising
campaign in the Philadelphia metropolitan area.” See Memo. at p. 3. Nevertheless, Plaintiffs failed to file a
Complaint for nearly one year. See ECF No. 1 (Complaint filed on September 22, 2017). They also delayed
seeking a preliminary injunction until nearly two months after they filed a Complaint. Plaintiffs have not alleged any
reason for the delay or why a preliminary injunction is necessary at this time. This inexplicable delay also
undermines their claim that they are being irreparably harmed.

“ For the sake of efficiency, Defendants do not repeat at length the arguments set for in their Memorandum of Law
in Support of their Motion to Dismiss Plaintiffs’ Complaint. Specifically, Defendants argue that Plaintiffs have not
sufficiently pled that (1) Defendants’ advertisements are false or misleading, (2) any alleged deception is material in
that it is likely to influence purchasing decisions, or (3) a likelihood of injury on account of Defendants’ alleged
false or misleading advertisements. Defendants further argue that Plaintiffs’ allegations regarding Defendants’
advertisements are essentially accusations that Defendants are acting in violation of the Pennsylvania Rules of
Professional Conduct “PRPC”. Because the PRPC do not create a private right of action, Plaintiffs’ claims are not
properly before this Court. These arguments are included herein by reference.
Case 2:17-cv-04250-MAK Document 21 Filed 11/28/17 Page 8 of 22

must prove either literal falsity or consumer confusion, but not both”). “[O]nly an unambiguous

message can be literally false.” Novartis Consumer Health, Inc. v. Johnson & Johnson-Merck

 

Consumer Pharmaceuticals Co., 290 F.3d 578, 587 (3r Cir. 2002). “The greater the degree to

 

which a message relies upon the viewer or consumer to integrate its components and draw the
apparent conclusion, however, the less likely it is that a finding of literal falsity will be

supported.” United Indus. Corp. v. Clorox Co., 140 F.3d 1175, 1181 (8th Cir.1998); see also

 

Warner-Lambert Co. v. Breathasure, Inc., 204 F.3d 87, 96 (3d Cir.2000); Castrol Inc. v. Pennzoil

 

Co., 987 F.2d 939, 946 (3d Cir. 1993).
A determination of literal falsity rests on an analysis of the message in context. Sandoz

Pharmaceuticals Corp. v. Richardson-Vicks, Inc., 735 F.Supp. 597, 600 (D.Del.1989), aff'd, 902

 

F.2d 222 (3d Cir.1990). In analyzing whether an advertisement or product name is literally false,
a court must determine, first, the unambiguous claims made by the advertisement or product

name, and second, whether those claims are false. Clorox Co. v. Proctor & Gamble Commercial

 

Co., 228 F.3d 24, 34 (Ist Cir. 2000). A “literally false” message may be either explicit or
“conveyed by necessary implication when, considering the advertisement in its entirety, the
audience would recognize the claim as readily as if it had been explicitly stated.” Id. at 35.
a. Plaintiffs Cannot Establish A Likelihood of Success As They Have Not
Even Alleged That The Current Advertising Includes False (or
Misleading) Statements
Plaintiffs claim Defendants’ advertisements are “literally false.” See Memo. at p. 9.
Specifically, Plaintiffs’ claim that the following statements are false and unambiguous:

e “I’m not just any lawyer, I’m your lawyer,”

e “we're all here for you,” and
Case 2:17-cv-04250-MAK Document 21 Filed 11/28/17 Page 9 of 22

e “our family is here for you family.”
See Memo. at p. 10.° On this infirm basis, Plaintiffs request that the Court enter a Preliminary
Injunction enjoining Defendants from:

e Engaging in false advertising and unfair competition with respect to its advertising in the
Philadelphia metropolitan area;

e Advertising its legal services in the Philadelphia metropolitan area; and

e Continuing to use advertising which depicts the Defendants, or any of them, who are not
licensed to practice in Pennsylvania and not members of the Pennsylvania bar.

See Motion at { 14.

First, the advertisement in which John Morgan stated: “I’m not just any lawyer, I’m your
lawyer,” no longer runs in the Philadelphia market and Morgan & Morgan has no plan to run it
here in the future.’ See Exhibit A, Declaration of Scott Weinstein (“Declaration”). The

advertisement is therefore irrelevant to Plaintiffs’ requested injunctive relief.

 

° Plaintiffs also claim that “the advertisements include the language ‘ATTORNEY ADVERTISING — NOT A
REFERRAL SERVICE’,” yet Defendants “refer all or substantially all of the cases generate from its advertising in
the Philadelphia area.” Memo. at pp. 3-4. Initially, the disclaimer referenced on pages 3 and 4, which included the
language “ATTORNEY ADVERTISING — NOT A REFERRAL SERVICE,” is no longer included on any
television advertisements. See Exhibit A (setting forth the current disclaimer included with all television
advertisements). Thus, similar to the “I’m your lawyer” advertisement, it is not relevant to the court’s current
analysis of whether Defendants should be enjoined from running their current advertisements. Moreover, whether
Morgan & Morgan is acting as a “referral service” — a term which is defined by the Pennsylvania Rules of
Professional Conduct — is a question for the Disciplinary Board of Pennsylvania, not this Court. See, infra, n. 4.

° Plaintiffs allege that additional features of advertisements, cited in support of their argument are “unambiguous,”
see Memo at p. 10, yet they not statements that Plaintiffs claim are “false”. By way of example, Plaintiffs allege:
“There is nothing ambiguous about John Morgan’s attempt to influence the decisions of consumers by setting forth
his personal accolades. There is nothing ambiguous about the Morgan family being prominently featured in
Defendants’ advertisements.” See Memo. at p. 10. Plaintiffs do not argue in their Memorandum that John Morgan’s
accolades or the Morgan family members’ inclusion in advertisements are “false.” To the extent Plaintiffs intended
to argue particular features of advertisements are misleading, they must show a tendency to deceive customers.
Plaintiffs have not presented anything other than conclusory statements in that regard.

’ Plaintiffs have attached the advertisement in which John Morgan stated: “I’m not just any lawyer, I’m your
lawyer” as an Exhibit to this Motion. See Plaintiffs’ Exhibit A. As is evident from the disclaimer, this
advertisement ran when Morgan & Morgan first entered the Philadelphia area market in association with Anapol
Weiss. Id.
Case 2:17-cv-04250-MAK Document 21 Filed 11/28/17 Page 10 of 22

Second, Plaintiffs have not attached advertisements including the language: “we’re all
here for you,” and “our family is here for you family” to the Motion. Nevertheless, to the extent
such advertisements are currently running in the Philadelphia market, Plaintiffs have not
explained how these statements are “literally false.”* Instead, according to Plaintiffs, the “subject
matter of this claim” is not the allegedly false statements set forth above, but rather the following
“blatant falsities and misrepresentations”: (1) “the advertisements do not alert the consumer that
the attorneys depicted therein are not licensed to practice law in Pennsylvania;” and (2) “the
advertisements do not explain to the consumer that Defendants do not intend to represent the
consumer but rather will simply pass the consumer along to another attorney and/or firm in
exchange for monetary compensation.” See Memo. at p. 1.

b. Defendants’ Current Disclaimer Addresses The Alleged Falsities and
Misrepresentations

The alleged “‘falsities and misrepresentations” cited by Plaintiffs are directly addressed by
the disclaimer that runs with all of Defendants’ current television advertisements in the
Philadelphia metropolitan market. The disclaimer reads:

ATTORNEY ADVERTISEMENT
Before making your choice of an attorney, you should give this matter careful thought. The
selection of an attorney is an important decision. Although some advertisements indicate that no
fee shall be charged in the absence of a recovery, clients may be liable for certain expenses. The
law firm responsible for this ad is Morgan & Morgan and the attorney in this ad is licensed in
FL. Cases may be referred to and handled by another law firm as co-counsel.

 

See Exhibit A.
The disclaimer specifically addresses Plaintiffs’ allegation that “the advertisements do

not alert the consumer that the attorneys depicted therein are not licensed to practice law in

 

* Indeed, there is no allegation that Morgan & Morgan is not in fact a family based law firm. Plaintiffs also
acknowledge that Morgan & Morgan has a Pennsylvania-based office and have an attorney working in their that
office. Memo. at p. 7.

10
Case 2:17-cv-04250-MAK Document 21 Filed 11/28/17 Page 11 of 22

Pennsylvania” as it provides that “the attorney in this ad is licensed in FL.” The disclaimer
addresses Plaintiffs’ allegation that the advertisements do not explain that their matter may be
referred to another law firm as it states: “[c]ases may be referred to and handled by another law
firm as co-counsel.” See Memo. at p. 7; see also Exhibit A (Declaration). Disclaimers of this
sort are common in law firm advertisements that may reach multiple states and generate inquiries
by prospective clients in practice areas or in geographic areas where the firm has limited
capacity. The law firm is free to refer the matter to other counsel with such capability or lawyers
at the firm may seek pro hac vice admission in the jurisdiction consistent with the local rules
governing same. Thus, the alleged “‘falsities and misrepresentations’” do not constitute grounds
for a preliminary injunction.

Plaintiffs, anticipating this argument, allege that the foregoing disclaimer is not sufficient
in that it is in small print, is only on screen for three (3) seconds, and does not rectify an
otherwise misleading advertisement. See Memo. at 11-12. In support of their argument, Plaintiffs
quote Novartis Consumer Health, Inc. v. Johnson & Johnson-Merck Consumer Pharm. Co., 290
F.3d 578, 598 (3d Cir. 2002), in which the Court stated: “We do not believe that a disclaimer can
rectify a product name that necessarily conveys a false message to the consumer.” See Memo. at
11-12. Novartis is distinguishable in that the question before the Court was whether a disclaimer
could cure a false statement. It did not, as Plaintiffs suggest, hold that a disclaimer does not
rectify “an otherwise misleading ad.” See Memo. at J1. Indeed, the Court stated that its ruling
was not absolute, concluding: “Although we are skeptical whether disclaimers can cure false
advertising claims (made literally or by necessary implication), they may be able to dispel

misleading messages implied by a product's name.” Novartis, 290 F.3d at 599,

11
Case 2:17-cv-04250-MAK Document 21 Filed 11/28/17 Page 12 of 22

Here, the disclaimer is not intended to cure a falsity. (Indeed, Plaintiffs have not
identified a false statement in any of Defendants’ current advertisement). Rather, it is meant to
provide the consumer with additional information. There is no case law supporting Plaintiffs’
position that the disclaimer is per se insufficient to cure an alleged misrepresentation.

Moreover, ironically, Plaintiffs base an allegation of falsity on language included in an
earlier disclaimer — that Defendants are “not a referral service”, see Memo. at 3-4. Yet, they
claim language in the current disclaimer is insufficient to “cure the deceptive nature of
Defendants’ advertising campaign.” See Memo. at 11. One disclaimer of a particular size and
duration criticized by Plaintiffs cannot be the basis for the claim of falsity, and a different
disclaimer, of the same size and duration, too insignificant to correct any alleged falsity.
Plaintiffs cannot have it both ways.”

c. Plaintiffs Fail To Show a Likelihood of Injury Caused by Defendants’
Allegedly False Advertisements

Plaintiffs fail to demonstrate that they have suffered or will suffer damages as a result of
Defendants’ allegedly false and misleading advertisements.

Plaintiffs do not complain about lawyer advertisements referring to them, criticizing them
or negatively comparing or contrasting their services against the legal services offered by
Morgan & Morgan. Indeed, it is uncontroverted that no Morgan & Morgan advertisement makes
any mention of Plaintiffs whatsoever. Plaintiffs also do not contend that Morgan & Morgan’s

clients are anything less than satisfied with the legal services they have received. Plaintiffs do not

 

° Regardless, the sufficiency of a disclaimer on an attorney advertisement is regulated — like the rest of Plaintiffs’
allegations — by the Supreme Court of Pennsylvania, through the Pennsylvania Rules of Professional Conduct
(“PRPC”). See PRPC 7.1 cmt. [3] (“The inclusion of an appropriate disclaimer or qualifying language may preclude
a finding that a statement is likely to create unjustified expectations or otherwise mislead the public.”). As set forth
in Defendants’ Memorandum of Law in Support of their Motion to Dismiss, the sufficiency of the disclaimer is
fundamentally a matter of attorney advertising exclusively regulated by that Court and not grounds for a private
cause of action.

12
Case 2:17-cv-04250-MAK Document 21 Filed 11/28/17 Page 13 of 22

identify any Morgan & Morgan client that was somehow duped into entering into an attorney-
client relationship with Morgan & Morgan when the client truly intended to retain Plaintiffs.
Instead, they are left to speculate that if Morgan & Morgan’s television advertisements dwelled a
few seconds longer on its disclaimer, perhaps fewer prospective clients would have responded to
the advertisement and instead decided to retain Plaintiffs.

A legal advertisement is of course only a mere introduction of a firm to a potential client
or someone who may know a potential client. The potential client is free to follow up and
contact the advertising law firm and decide whether to enter into a lawyer-client relationship on
the terms offered, and is also free to “shop around” and contact any number of other firms that
advertise in the marketplace or perform other forms of due diligence to find a law firm or lawyer
who suits the prospective client’s needs. Plaintiffs completely ignore the fact that every
prospective client enjoys the free will to pursue or ignore legal advertising that may nor may not
appeal to that person, leaving Plaintiffs’ central theory that there “must” be some causal
connection between some Morgan & Morgan advertising and Plaintiffs’ unspecified reduction in
new clients and resulting unidentified reduction in profits entirely speculative and unavailing as a
matter of law. '°
d. The Advertisements Attached By Plaintiffs Do Not Support Their Motion
In support of their claims, Plaintiffs have attached three Morgan & Morgan

advertisements as Exhibit A. The videos, which are not numbered, dated or explained in any

way in the Motion or Memorandum, are labeled as follows:

 

'° Plaintiffs offer no support for their claim that they have lost clients because of Defendants’ advertising. Plaintiffs
do not identify a single client who retained Morgan & Morgan because of an advertisement who would have
otherwise retained Plaintiffs. Further, Plaintiffs conveniently ignore many reasonable explanations for their
purported loss of clients, such as the effect of other competition in the market or the wisdom of Plaintiffs’ own
advertising strategy.

13
Case 2:17-cv-04250-MAK Document 21 Filed 11/28/17 Page 14 of 22

(1) “Morgan ad - I’m your lawyer”
This commercial includes the following disclaimer:

ATTORNEY ADVERTISEMENT — NOT A REFERRAL SERVICE
Before making your choice of an attorney, you should give this matter careful thought. The
selection of an attorney is an important decision. Although some advertisements indicate that no
fee shall be charged in the absence of a recovery, clients may be liable for certain expenses. The

law firm responsible for this advertisement with Morgan and Morgan is Anapol Weiss.
Offices: One Logan Square, 130 N. 18th Street, Suite 1600, Philadelphia, PA 19103

 

(2) “Morgan ad — Qualifications”

This advertisement includes the following disclaimer:
“OFFICES - SARASOTA.”

(3) “Morgan ad — October 2017 new disclaimer”

This advertisement includes the following disclaimer:
ATTORNEY ADVERTISEMENT
Before making your choice of an attorney, you should give this matter careful thought. The
selection of an attorney is an important decision. Although some advertisements indicate that no
fee shall be charged in the absence of a recovery, clients may be liable for certain expenses. The
law firm responsible for this ad is Morgan & Morgan and the attorney in this ad is licensed in
FL. Cases may be referred to and handled by another law firm as co-counsel.

See Plaintiffs’ Exhibit A; see also Memo. at p. 7 (emphasis added).

These advertisements actually undermine Plaintiffs’ argument for injunctive relief. The
first advertisement, ‘““Morgan ad - I’m your lawyer’, currently does not run in the Philadelphia
market. See Exhibit A (Declaration) The second advertisement, “Morgan ad — Qualifications”
ran in the Sarasota market, as noted by the “Offices —Sarasota” statement. The third

advertisement includes the current disclaimer, which is discussed above and directly refutes

Plaintiffs’ alleged “falsities and misrepresentations.” Therefore, the evidence proffered by

14
Case 2:17-cv-04250-MAK Document 21 Filed 11/28/17 Page 15 of 22

Plaintiffs demonstrates that Plaintiffs’ inferences controvert the actual text of the advertisements
and cannot substantiate a claim for false advertising. ''

C. The Court, Respectfully, Should Deny the Motion for Preliminary Injunction
Without a Hearing

Finally, a motion for a preliminary injunction may be denied without a hearing if “the
movant is proceeding on a legal theory which cannot be sustained” or “the movant has not
presented a colorable factual basis to support the claim on the merits or the contention of

irreparable harm.” Checker Cab Philadelphia, Inc. v. Uber Techs., Inc., No. CIV.A. 14-7265,

 

2015 WL 966284, at *2 (E.D. Pa. Mar. 3, 2015), aff'd sub nom. Checker Cab of Philadelphia Inc.

 

v. Uber Techs., Inc., 643 F. App'x 229 (d Cir. 2016) (citing Hynoski v. Columbia County

 

 

Redevelopment Authority, 485 F. App'x 559, 564 (3d Cir.2012) (quoting Bradley v. Pittsburgh

 

Bd. of Educ., 910 F.2d 1172, 1175-76 (3d Cir.1990)). Plaintiffs cannot, as a matter of law,
establish that they are more likely than not to suffer irreparable harm in the absence of
preliminary relief as their purported losses constitute purely economic harm.

Plaintiffs also cannot establish a likelihood of success on the merits as the current
advertisements make clear that the attorney identified in the advertisement is licensed in Florida
and that cases may be referred to another law firm. These statements refute the two allegedly

blatant “falsities” cited by Plaintiffs in their motion. Since Plaintiffs’ Complaint is deficient as a

 

"' As Plaintiffs have satisfied neither gateway factor, the Court need not examine the remaining two factors.
Nevertheless, those factors also militate against granting an injunction. Defendants, who maintain an office in
Philadelphia, have the right to advertise their legal services in Pennsylvania. Plaintiffs cannot identify any false or
misleading statements in Defendants’ current advertisements. To prohibit Defendants from advertising at all based
upon unsubstantiated allegations would be unjust (not to mention a violation of their well-recognized rights of
commercial speech) and subject Defendants to unnecessary and greater harm than Plaintiffs claim to suffer.

Finally, there is no public interest that would be advanced by entering an injunction at this time. The current
disclaimer explains that (1) the attorneys appearing in the advertisements are from Florida; and (2) cases may be
referred to other counsel. See Exhibit A. Thus the current advertisements, read in context and taken as a whole, belie
Plaintiffs’ purported concerns.

15
Case 2:17-cv-04250-MAK Document 21 Filed 11/28/17 Page 16 of 22

matter of law and its motion for preliminary injunction fails to make out a colorable basis for
injunctive relief, neither the Defendants nor the Court should be required to expend the
substantial additional time, effort and resources necessary to prepare for and participate in a
preliminary injunction hearing. Accordingly, the Court should deny the Motion without a
hearing.
IV. CONCLUSION

For the foregoing reasons, Defendants respectfully requests that this court deny Plaintiffs’

Motion for Preliminary Injunction.

Respectfully submitted,

PIETRAGALLO GORDON ALFANO
BOSICK & RASPANTI, LLP
Dated: November 28, 2017

By: _ Gaetan J. Alfano
GAETAN J. ALFANO, ESQUIRE
ERIC SOLLER, ESQUIRE
LESLIE A. MARIOTTI, ESQUIRE
1.D. No. 32971 & 309395
1818 Market Street, Suite 3402
Philadelphia, PA 19103
(215) 320-6200

Attorneys for Defendants

16
Case 2:17-cv-04250-MAK Document 21 Filed 11/28/17 Page 17 of 22

CERTIFICATE OF SERVICE

I hereby certify that a true and correct copy of BRIEF IN OPPOSITION TO
PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION has been served on this date

upon the individuals and in the manner indicated below:

VIA COURT’S ECF SYSTEM

Ryan Cohen, Esquire
Jeffrey Paul Curry, Esquire
Rosenbaum and Associates

1818 Market Street
Suite 3200
Philadelphia, Pa 19103

Attorneys for Plaintiffs

PIETRAGALLO GORDON ALFANO
BOSICK & RASPANTI, LLP
Dated: November 28, 2017

By: __ Gaetan J. Alfano
GAETAN J. ALFANO, ESQUIRE
ERIC SOLLER, ESQUIRE
LESLIE A. MARIOTTI, ESQUIRE
I.D. No. 32971 & 309395
1818 Market Street, Suite 3402
Philadelphia, PA 19103
(215) 320-6200

Attorneys for Defendants

17
Case 2:17-cv-04250-MAK Document 21 Filed 11/28/17 Page 18 of 22

EXHIBIT A
Case 2:17-cv-04250-MAK Document 21 Filed 11/28/17 Page 19 of 22

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 

ROSENBAUM & ASSOCIATES, P.C.,
DAVID A. ROSENBAUM and JEFFREY

M. ROSENBAUM Civil Action No. 2:17-cv-04250-MAK
Plaintiffs, :
v.

MORGAN & MORGAN a/k/a MORGAN &
MORGAN, PA, JOHN MORGAN, MIKE
MORGAN, DANIEL MORGAN, MATT
MORGAN, SCOTT WEINSTEIN and
ULTIMA MORGAN

Defendants. |

DECLARATION OF SCOTT W. WEINSTEIN

Pursuant to 28 U.S.C. § 1746, [hereby declare as follows:
1. I serve as Morgan & Morgan’s Global Managing Partner.

2. I have reviewed Plaintiffs’ Motion for Preliminary Injunction and Defendants’

response thereto.

3. I have made inquiry with our marketing department in order to ascertain the facts

set forth in this Declaration.

4, The following disclaimer is included in all of Morgan & Morgan’s current

television advertisements in the Philadelphia metropolitan area:

ATTORNEY ADVERTISEMENT
Before making your choice of an attorney, you should give this matter careful
thought. The selection of an attorney is an important decision. Although some
advertisements indicate that no fee shall be charged in the absence of a recovery,
clients may be liable for certain expenses. The law firm responsible for this ad is
Morgan & Morgan and the attorney in this ad is licensed in FL. Cases may be
referred to and handled by another law firm as co-counsel.

Offices: 2 Penn Center, Suite 900 John F. Kennedy Blvd., Philadelphia, PA 10102
Case 2:17-cv-04250-MAK Document 21 Filed 11/28/17 Page 20 of 22

5, A sereenshot of the disclaimer, as included in the current television
advertisements, is attached hereto as Exhibit 1.

6. The advertisement included in “Exhibit A” to Plaintiffs’ Motion for Preliminary
Injunction, and titled “Morgan ad - I’m your lawyer”, no longer runs in the Philadelphia
metropolitan market.

7. Morgan & Morgan has no plan to run the advertisement titled “Morgan ad - ’m
your lawyer” in the Philadelphia metropolitan market in the future.

8. I declare under penalty of perjury that the foregoing statements are true and

correct to the best of my knowledge, information and belief.

=

—

 

Scott Wm Weinstein ~

November 28, 2017

Date

 
Case 2:17-cv-04250-MAK Document 21 Filed 11/28/17 Page 21 of 22

EXHIBIT |
: VS a9
Od al ForThePeople.com

yt / f pi iS AVAILABLE 24/7
' . 1-800-MORGAN LAW
—e A

...For the people

 

Attorney Advertising
Before making your choice of an attorney, you should give this matter careful thought. The selection of an attorney
is an important decision. Although some advertisements indicate that no fee shall be charged in the absence of recovery.
clients may be liable for certain expenses. The law firm responsible for this ad is Morgan & Morgan and the
attorney in this ad is licensed in FL. Cases may be referred to and handled by another law firm as co-counsel.

Offices: 2 Penn Center, Suite 900, 1500 John F Kennedy Blivd., Philadelphia, PA. 19102 4|
